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    TY LAN LU CA S 19308-047                                                          D                        h(
           Petitioner

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    UN ITED STA TES OF A M ERICA
           Respondent


                PETITION FOR W RIT OF HABEASCORPUS UNDER 28U.S.C.j2241
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    Charges violationsof:
    21U.S.Codej841(a)(1)
    18U.S.C.j9244c)
     A fairreading ofslatutesJnustbecertain ofConv ess'sintentbefore fmding thatfederal1aw
    ovezridestheusu>lconstitm ionalbalanceoffederaland statepowers.SeeBOND v.UNITED
    STATES @ o.09-1227)581F.3d 128,BOND v.UNITED STATES CERTIORARITO THE
    U N I-I'ED STATES COU RT OF A PPEA LS FOR TH E TH IRD CIRCU IT N o. 12-158.Argued
    November5,2013- DecidedJune2,2014.W herefore,ltilemywritofHatemsCorpusforan
    acquittalandmyimmediaterelease.M #arrestwasnotpdvilegedtotheUnitedStatesof             '
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    America,and my subsequentconviction violated thenarrow-federalstatebalance.See United
    Statesv.Fenton.10F.Suvp.261501(W D.Pa.19984.My chargeswereaproductofthe
            '
            .                                                .
    violation ofthe.narrowcfederalwstatebalance.See Chapman v..united Statès,500 &:5'
                                                                                    .453,463-
    64.111S.Ct.1919.ll4L.Ed.261.524 (19914'
                                          ,Hughevv.UnitedStates.495 U S.411.422,110
    S.Ct.1979,109L.Ed.1#408(19904,'Crandonv.UnitedStates.494 ULS.152,158,.  168,110S.
    Ct.997.l08L.Ed.261l32(19904*
                               .TheFederalgovernm entlacksjurisdictiontoinvestigateand
    prosecute state crim es.1wasnotcharged with interstatecomm erce.SeeFederalRulesof
    Cdm inalProcedur..Thefefore,my federalarrestviolated theSeparation ofPowers. Thevalidity
    ofan arrestiscontrolled by thestateand state. Citing stamesalonewithoutevidence offederal
    judsdictionviolatesthenarrow federal-statebalance.Federalinvestigationsareallowableafter
     evidenceleadingtoanofticialfederaljurisdictionâloneisestablishedandnot+ afterwards.Itis
                                    '                                                              .


     notclearfrom thelanguageandlegislativehistoryofj 1202(a)(1)whetherornotreceiptor


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possession ofafirearm by aconvi.cted felon hastobeshown in an individualprosecution to have
been comwctedwithinterstatecommerce.'Fheambiguityofthisprovision(wllich isnotonlya
cdm inalstatutebutonewhosebroad construction would defneasa federaloffensecohduct
readilyproscdbedbythe'
                     States),mustthereforeberesolvedinfavorofthenarrowerreadingthat
ahexuswith interstate com m ercemustbeshown with respectto a11threeoffensesem braced by
theprovikion.Pp.404 U .S.339-351.Givqn that''Conm esshastraditionally beeù reluctantto
desneasdfederalcrim'econductreadilydenounqedascriminalbytheStatesg,q''UnitedS-tates v
v.Bass,404US.336.349,92S.Ct.515.30L.Ed.2d488(19714,1cannotsimpiyassumethatit
intendedtochangethefederal-statebalah
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                                                                          (#p: OLS.'-- '--''
336(19714.('Inthesecircumstances,wheretext,stnzctuly andhistoryfailtoestablish thatthe
Government'spositionisunnmbiguouslycorrectthenzleoflerlitymustappiy'toresolvethe
ambiguityin (defendaùt'sjfavor.''),
                                  'Neitherthenumberofgtmsoreitherofmychargestrigger
fedèraljurisdiction. W herefore,Imotion thecourtforachancetobeheardtovacatemyfederal
conviction.




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